     Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 1 of 47




 1     MARIO N. ALIOTO, ESQ. (56433)
       JOSEPH M. PATANE, ESQ. (72202)
 2     LAUREN C. RUSSELL, ESQ. (241151)
       TRUMP, ALIOTO, TRUMP & PRESCOTT, LLP
 3
       2280 Union Street
 4     San Francisco, CA 94123
       Telephone: (415) 563-7200
 5     Facsimile: (415) 346-0679
       E-mail: malioto@tatp.com
 6     laurenrussell@tatp.com
 7
       Lead Counsel for the Indirect Purchaser Plaintiffs
 8
                                  UNITED STATES DISTRICT COURT
 9
                               NORTHERN DISTRICT OF CALIFORNIA
10

11     IN RE: CATHODE RAY TUBE (CRT)  )                     Master File No. CV-07-5944 SC
       ANTITRUST LITIGATION           )
12                                    )                     MDL No. 1917
                                      )
13                                    )                     DECLARATION OF RICHARD M.
                                      )                     PEARL IN SUPPORT OF INDIRECT
14                                    )                     PURCHASER PLAINTIFFS’ MOTION
15                                    )                     FOR ATTORNEYS' FEES,
                                      )                     REIMBURSEMENT OF LITIGATION
16                                    )                     EXPENSES, AND INCENTIVE AWARDS
                                      )
17                                    )
                                      )
18                                    )
       This document relates to:                            Hearing Date: November 13, 2015
19                                    )                     Time: 10:00 a.m.
       ALL INDIRECT PURCHASER ACTIONS )                     Courtroom: One, 17th Floor
20                                    )                     Judge: Honorable Samuel Conti
                                      )
21                                    )
22

23

24

25

26

27
                                                   1
28       DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
        MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                               AWARDS – Master File No. CV-07-5944-SC
     Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 2 of 47




 1            I, Richard M. Pearl, declare:

 2            1.      I am a member in good standing of the California State Bar. I am in private

 3     practice as the principal of my own law firm, the Law Offices of Richard M. Pearl, in Berkeley,

 4     California. I specialize in issues relating to court-awarded attorneys’ fees, including the

 5     representation of parties in fee litigation and appeals, serving as an expert witness, and serving as

 6     a mediator and arbitrator in disputes concerning attorneys’ fees and related issues. In this case, I

 7     have been asked by Lead IPP Counsel for the Indirect Purchaser Plaintiffs (“IPP Lead Counsel”)

 8     to render my opinion on the reasonableness of the percentage-based fee IPP Counsel are seeking

 9     from the $576.75 million common fund generated by the settlements in this matter and the

10     lodestar-multiplier based fee they have submitted to the Court as a cross-check against the

11     percentage-based fee.

12            Professional Background

13            2.      Briefly summarized, my background is as follows: I am a 1969 graduate of Boalt

14     Hall School of Law, University of California, Berkeley, California. I took the California Bar

15     Examination in August 1969 and passed it in November of that year, but because I was working

16     as an attorney in Atlanta, Georgia for the Legal Aid Society of Atlanta (LASA), I was not

17     admitted to the California Bar until January 1970. I worked for LASA until summer of 1971,

18     when I then went to work in California’s Central Valley for California Rural Legal Assistance,

19     Inc. (CRLA), a statewide legal services program. From 1977 to 1982, I was CRLA’s Director of

20     Litigation, supervising more than fifty attorneys. In 1982, I went into private practice, first in a

21     small law firm, then as a sole practitioner. Since 1982, my practice has been a general civil

22     litigation and appellate practice, with an emphasis on cases and appeals involving court-awarded

23     attorneys’ fees. Martindale Hubbell rates my law firm “AV.” I also have been selected as a

24     Northern California “Super Lawyer” in Appellate Law for 2005, 2006, 2007, 2008, 2010, 2011,

25     2012, 2013, 2014, and 2015. A copy of my current Resumé is attached hereto as Exhibit A.

26

27                                            2
28       DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
        MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                               AWARDS – Master File No. CV-07-5944-SC
     Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 3 of 47




 1            3.      I am the author of California Attorney Fee Awards (3d ed. Cal. CEB 2010) and its

 2     February 2011, 2012, 2013, 2014, and March 2015 Supplements, as well as all its previous

 3     editions and annual supplements. California appellate courts have cited this treatise on more than

 4     35 occasions. See, e.g., Graham v. DaimlerChrylser Corp., 34 Cal.4th 553, 576, 584 (2004);

 5     Lolley v. Campbell, 28 Cal.4th 367, 373 (2002); Chacon v. Litke, 181 Cal.App.4th 1234, 1259

 6     (2010); Syers Properties III, Inc. v. Rankin, 226 Cal.App.4th 691, 698, 700 (2014). I also have

 7     lectured and written extensively on court-awarded attorneys’ fees. I have been a member of the

 8     California State Bar’s Attorneys’ Fees Task Force and have testified before the State Bar Board

 9     of Governors and the California Legislature on attorneys’ fee issues. In addition, I authored a

10     federal manual on attorneys’ fees entitled Attorneys’ Fees: A Legal Services Practice Manual,

11     published by the Legal Services Corporation. I also co-authored the chapter on “Attorney Fees”

12     in Volume 2 of CEB’s Wrongful Employment Termination Practice, 2d Ed. (1997).

13            4.      More than 90% of my practice is devoted to issues involving court-awarded

14     attorneys’ fees. I have been counsel in over 190 attorneys’ fee applications in state and federal

15     courts, primarily representing other attorneys. I also have briefed and argued more than 40

16     appeals, at least 25 of which have involved attorneys’ fees issues. I have been lead appellate

17     counsel on numerous Ninth Circuit appeals involving attorneys’ fees, including:

18                       Davis v. City & County of San Francisco, 976 F.2d 1536 (9th Cir. 1992);
19                       Mangold v. CPUC, 67 F.3d 1470 (9th Cir. 1995);
20                       Velez v. Wynne, 2007 U.S.App. LEXIS 2194 (9th Cir. 2007); and
21                       Camacho v. Bridgeport Financial, Inc., 523 F.3d 973 (9th Cir. 2008).
22            5.      I also have successfully handled five cases in the California Supreme Court

23     involving court-awarded attorneys’ fees:

24                       Maria P. v. Riles, 43 Cal.3d 1281 (1987), a landmark early decision on the
25                        scope of California Code of Civil Procedure section 1021.5;

26

27                                            3
28       DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
        MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                               AWARDS – Master File No. CV-07-5944-SC
     Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 4 of 47




 1                       Delaney v. Baker, 20 Cal.4th 23 (1999), which held that heightened remedies,
 2                        including attorneys’ fees, are available in suits against nursing homes under

 3                        California’s Elder Abuse Act;

 4                       Ketchum v. Moses, 24 Cal.4th 1122 (2001), which held, inter alia, that
 5                        contingent risk multipliers remain available under California attorney fee law,

 6                        despite the United States Supreme Court’s contrary ruling on federal fee-

 7                        shifting statutes (in Ketchum, I was primary appellate counsel in the Court of

 8                        Appeal and “second chair” in the Supreme Court);

 9                       Flannery v. Prentice, 26 Cal.4th 572 (2001), which held that in the absence of
10                        an agreement to the contrary, statutory attorneys’ fees belong to the attorney

11                        whose services they are based upon; and

12                       Graham v. DaimlerChrysler Corp., 34 Cal.4th 55 (2004), which held, inter
13                        alia, that the “catalyst” theory was still valid under California law despite

14                        contrary federal Supreme Court authority.

15     I also represented and argued on behalf of amicus curiae in Conservatorship of McQueen, 59

16     Cal.4th 602 (2014), and, along with Richard Rothschild, filed an amicus curiae brief in Vasquez

17     v. State of California, 45 Cal.4th 243 (2009).

18            6.      I also have briefed and argued many California Court of Appeal cases involving

19     attorneys’ fees, including:

20                       Center for Biological Diversity v. County of San Bernardino, 185 Cal.App.4th
21                        866 (2010);

22                       Environmental Protection Information Center v. California Dept. of Forestry
23                        & Fire Protection, et al., 190 Cal.App.4th 217 (2010); and

24                       Molina et al v. Lexmark International, et al., 2013 Cal.App.Unpub. LEXIS
25                        6684 (2013).

26     For an expanded list of my representative decisions, see Exhibit A.

27                                            4
28       DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
        MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                               AWARDS – Master File No. CV-07-5944-SC
     Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 5 of 47




 1            7.       I have been retained by various governmental entities, including the State of

 2     California, at my then-current rates to consult with them regarding their affirmative attorney fee

 3     claims. See, e.g., In re Tobacco Cases I, 216 Cal.App.4th 570, 584 (2013).

 4            8.       I am frequently called upon to opine about the reasonableness of attorneys’ rates

 5     and fees, and numerous federal and state courts have cited my testimony on that issue favorably.

 6     Perhaps most notably, my declaration testimony was cited favorably in the LCD Flat Panel

 7     litigation. See In re TFT-LCD (Flat Panel) Antitrust Litig., No. M 07-1827 SI, MDL No. 1827

 8     (N.D. Cal. 2013), Report and Recommendation of Special Master re Motions for Attorneys’ Fees

 9     etc., filed Nov. 9, 2012, adopted in relevant part, 2013 U.S.Dist. LEXIS 49885. My declaration

10     testimony also has been cited favorably by the following federal courts:

11                    Prison Legal News v. Schwarzenegger 608 F.3d 446, 455 (9th Cir. 2010), in
12                     which the expert declaration referred to is mine;

13                    Antoninetti v. Chipotle Mexican Grill, Inc. (9th Cir. 2012), Order filed Dec. 26,
14                     2012;

15                    Holman et al v. Experian Information Solutions, Inc., No. 11-cv-0180 CW (DMR),
16                     2014 U.S.Dist. LEXIS 173698 (N.D. Cal. 2014);

17                    Rosenfeld v. United States Dept. of Justice, 904 F. Supp. 2d 988 (N.D. Cal. 2012);
18                    Stonebrae v. Toll Bros., No. C-08-0221 EMC, 2011 U.S.Dist. LEXIS 39832, at *9
19                     (N.D. Cal. 2011) (thorough discussion), aff’d Nos. 11-16161, 11-16274, 2013

20                     U.S.App. LEXIS 6369 (9th Cir. 2013);

21                    Hajro v. United States Citizenship & Immigration Service, 900 F.Supp.2d 1034,
22                     1054 (N.D. Cal 2012);

23                    Armstrong v. Brown No. C 94-2307 CW, 2011 U.S.Dist. LEXIS 87428 (N.D. Cal.
24                     2011);

25                    Californians for Disability Rights, Inc. v. California Dept. of Transportation, No.
26                     C 06-05125 SBA (MEJ), 2010 U.S.Dist. LEXIS 141030 (N.D. Cal. 2010);

27                                            5
28       DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
        MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                               AWARDS – Master File No. CV-07-5944-SC
     Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 6 of 47




 1                    Prison Legal News v. Schwarzenegger, 561 F. Supp. 2d 1095 (N.D. Cal. 2008) (an
 2                     earlier motion);

 3                    Oberfelder v. City of Petaluma, No. C-98-1470 MHP, 2002 U.S.Dist. LEXIS 8635
 4                     (N.D. Cal. 2002), aff’d Nos. 01-17302, 02-15423, 2003 U.S.App. LEXIS 11371

 5                     (9th Cir. 2003);

 6                    Bancroft v. Trizechahn Corp., No. CV 02-2373 SVW (FMOx), Order Granting
 7                     Reasonable Attorneys’ Fees etc. (C.D. Cal. Aug. 14, 2006);

 8                    Willoughby v. DT Credit Corp., No. CV 05-05907 MMM (Cwx), Order Awarding
 9                     Reasonable Attorneys’ Fees After Remand, (C.D. Cal. July 17, 2006);

10                    A.D. v. California Highway Patrol, No. C 07-5483 SI, 2009 U.S.Dist. LEXIS
11                     110743 (N.D. Cal. 2009), rev’d on other grounds, 712 F.3d 446 (9th Cir. 2013),

12                     reaffirmed and additional fees awarded on remand, at 2013 U.S.Dist. LEXIS

13                     169275;

14                    National Federation of the Blind v. Target Corp., No. C 06-01802 MHP, 2009
15                     U.S.Dist. LEXIS 67139 (N.D. Cal. 2009).

16            9.       The reported cases referencing my testimony also include the following California

17     appellate court cases:

18                        Laffitte v. Robert Half International Inc., 231 Cal.App.4th 860 (2014) (vacated
19                         on grant of review);

20                        In re Tobacco Cases I, 216 Cal.App.4th 570 (2013);
21                        Heritage Pacific Financial LLC v. Monroy, 215 Cal.App.4th 972, 1009
22                         (2013);

23                        Children’s Hospital & Medical Center v. Bonta, 97 Cal.App.4th 740 (2002);
24                        Wilkinson v. South City Ford, 2010 Cal.App.Unpub. LEXIS 8680 (2010);
25                        Church of Scientology v. Wollersheim, 42 Cal.App.4th 628 (1996).
26     In addition, numerous trial courts have relied upon my testimony in unpublished fee orders.

27                                            6
28       DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
        MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                               AWARDS – Master File No. CV-07-5944-SC
     Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 7 of 47




 1             IPP Counsel’s Request For A 33.3% Common Fund Fee Is Reasonable

 2             10.    In this case, I have been asked by IPP Counsel to express my opinion as to the

 3     reasonableness of the 33.3% percentage-based fee they are requesting and the lodestar –

 4     multiplier based fee they have presented as a cross-check. To form this opinion, I have reviewed

 5     numerous documents in the case, including: the Indirect Purchasers’ Motion for Preliminary

 6     Approval of Class Actions Settlements with the Philips, Panasonic, Hitachi, Toshiba, Samsung

 7     SDI, Thomson, and TDA Defendants, including the approved Settlements; Indirect Purchaser

 8     Plaintiffs’ [draft] Motion for Award of Attorneys Fees, Reimbursement of Litigation Expenses,

 9     and Incentive Awards to Class Representatives; and the draft declarations of numerous IPP

10     Counsel, particularly the declaration of Lead IPP Counsel Mario N. Alioto, inlcuding the exhibits

11     to Mr. Alioto’s declaration. I also have reviewed the court-approved website for the settlements,

12     www.crtclaims.com. I also have communicated about the case with Mr. Alioto and several IPP

13     Counsel, including Dan Birkhaeuser, Lauren Capurro (Russell), Sylvie Kern, and Joe Patane.

14             11.    It is my understanding that IPP Counsel request a common fund attorneys’ fee

15     award of $192,250,000, which equates to one-third (33.3%) of the $576,750,000 fund provided

16     by the Settlements in this matter. I also have been informed that IPP Counsel’s lodestar, using

17     historical rates, is $83,753,999.05; the fee requested equates to a multiplier of 2.3 on this

18     lodestar. If current rates are used instead of historical rates, as is commonly done in class action

19     common fund cases, the corresponding lodestar is $90,075,076.90, and the multiplier is only

20     2.13.

21             12.    In my opinion, a 33.3% fee from a $576,750,000 fund is well within the range of

22     reasonable fee awards in comparable federal class actions. For common fund fee applications

23     like this one, district courts in the Ninth Circuit have the discretion to use either the lodestar

24     method or the percentage-of-the-fund method in common fund cases. See Paul, Johnson, Alston

25     & Hunt v. Graulty, 886 F.2d 268, 272 (9th Cir. 1989). In light of the well-recognized

26     disadvantages of the lodestar method and the well-recognized advantages of the percentage-of-

27                                            7
28       DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
        MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                               AWARDS – Master File No. CV-07-5944-SC
     Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 8 of 47




 1     the-fund method (see Brian T. Fitzpatrick, Do Class Action Lawyers Make Too Little?, 158 U.

 2     Pa. L. Rev. 2043, 2051 (2010) [hereinafter “Class Action Lawyers”]), it is my opinion that courts

 3     should generally use the percentage-of-the-fund method in common fund cases unless special

 4     circumstances counsel otherwise (e.g., the settlement calls for non-monetary relief that is more

 5     substantial than the monetary relief but the non-monetary relief cannot be fairly valued).

 6     Because there are no such special circumstances in this case, it is my opinion that the percentage-

 7     of-the-fund method should be used here.

 8            13.     Courts usually examine a number of factors when deciding what percentage to

 9     award plaintiffs’ counsel under the percentage-of-the-fund approach. See Fitzpatrick, An

10     Empirical Study of Class Action Settlements and Their Fee Awards, 7 J. Empirical L. Stud. 811,

11     832 (2010) [hereinafter “Empirical Study”]. In the Ninth Circuit, courts use 25% as the “‘bench

12     mark’ percentage for the fee award,” which “can then be adjusted upward or downward to

13     account for any unusual circumstances involved in the case.” Paul, Johnson, Alston & Hunt v.

14     Graulty, supra, 886 F.2d at 272; see also Six Mexican Workers v. Arizona Citrus Growers, 904

15     F.2d 1301, 1311 (9th Cir. 1990) (stating that the 25% benchmark percentage “should be adjusted

16     . . . when special circumstances indicate that the percentage recovery would be either too small or

17     too large in light of the hours devoted to the case or other relevant factors”).

18            14.     In this District, many courts have concluded that the benchmark is actually closer

19     to 30%. See, e.g., In re Activision Secs. Litig., 723 F. Supp. 1373, 1377 (N.D. Cal. 1989)

20     (observing that “the benchmark is closer to 30%” and that the fee award in common fund cases

21     “almost always hovers around 30% of the fund created by the settlement”); In re Omnivision

22     Techonologies, 559 F. Supp. 2d 1036, 1047 (N.D. Cal. 2008) (Conti, J.) (“in most common fund

23     cases, the award exceeds [the 25%] benchmark.”).

24            15.     In various cases, the Ninth Circuit has identified several factors that district courts

25     may examine in deciding whether to increase or decrease an award from the benchmark:

26

27                                            8
28       DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
        MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                               AWARDS – Master File No. CV-07-5944-SC
     Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 9 of 47




 1                     a. The results achieved by IPP Counsel. See Six Mexican Workers, 904 F.2d at

 2                         1311; Vizcaino, v. Microsoft Corp., 290 F.3d 1043, 1048 (9th Cir. 2002);

 3                     b. The complexity of the case. See Six Mexican Workers, 904 F.2d at 1311; In

 4                         re Pacific Enters. Securities Litig., 47 F.3d 373, 379 (9th Cir. 1995);

 5                     c. The risks the case involved. See In re Pacific Enters. Securities Litig., 47

 6                         F.3d at 379; Vizcaino, 290 F.3d at 1048-49;

 7                     d. The length of time the case has transpired. See Six Mexican Workers, 904

 8                         F.2d at 1311; Vizcaino, 290 F.3d at 1050;

 9                     e. The non-monetary benefits obtained by IPP Counsel. See In re Pacific

10                         Enters. Securities Litig., 47 F.3d at 379; Vizcaino, 290 F.3d at 1049; Staton v.

11                         Boeing, 327 F.3d 938, 946 (9th Cir. 2003).

12                     f. The percentages awarded in other class action cases. See Vizcaino, 290 F.3d

13                         at 1050;

14                     g. The percentages in standard contingency-fee agreements in similar individual

15                         cases. See id. at 1049; and

16                     h. Plaintiffs’ counsel’s lodestar. See id. at 1050-51.

17            16.     In my opinion, an award equal to 33.3% of the cash portions of each of the nine
18     settlements here is within the range of reasonable fee awards under the Ninth Circuit’s approach
19     because the above factors strongly suggest that the award here should exceed the 25-30%
20     benchmark, and 33.3% is a commonly awarded percentage in above-benchmark cases. I base
21     that opinion on the following factors:
22            17.     The Exceptional Results Obtained. In the legal marketplace, law firms that
23     obtain excellent or exceptional results for their clients can and do expect that those exceptional
24     results will be reflected in their fees. Here, the results obtained are certainly exceptional: after
25     eight years of litigation, much of it very intensive, counsel have achieved over $576 million in
26     settlements, which, according to counsel, constitutes one of the largest indirect purchaser cash
27                                            9
28       DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
        MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                               AWARDS – Master File No. CV-07-5944-SC
 Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 10 of 47




 1   settlement recoveries on record. These funds are non-reversionary, and IPP Counsel are confident

 2   that the entire net fund will be claimed and distributed; in many cases, it appears very likely that

 3   those who submit claims will be highly compensated for their losses. This relief also goes far

 4   beyond the relief obtained by government entities and provides significant incentive for

 5   companies like the Defendants to avoid similar antitrust violations in the future. In addition, IPP

 6   Counsel have obtained non-monetary benefits in the form of the Defendants’ agreement to

 7   cooperate in securing similar relief from Defendants before they settled. In my view, comparing

 8   these exceptional results to the relief obtained in more typical class actions (e.g., wage and hour

 9   and securities class actions) provides strong support for adjusting the benchmark percentage

10   upward to 33.3%.

11          18.     The Exceptional Novelty, Difficulty and Complexity of the Litigation. As the

12   Court is aware, both the legal and factual issues here were quite novel, difficult, and complex.

13   They are amply described in IPP Counsel’s supporting memorandum and in Mr. Alioto’s

14   declaration, and will not be repeated here. Suffice it to say that they go far beyond the

15   complexities found in the vast majority of cases, a factor that also strongly justifies a significant

16   upward adjustment from the benchmark 25-30%.

17          19.     The Extraordinary Risk Taken by IPP Counsel. In the legal marketplace,

18   lawyers who assume a significant financial risk on behalf of their clients rightfully expect that

19   their compensation will be significantly greater than it would be if no risk or delay were

20   involved, i.e., under the traditional arrangement where the client is obligated to pay for costs and

21   fees incurred on a monthly basis, win or lose. In my experience, attorneys are willing to take on

22   such contingent fee cases only if they can expect to receive significantly higher effective hourly

23   rates in successful cases, particularly in cases that are expected to be hard-fought and where the

24   result is uncertain, as was the case here. As a result, in common fund cases, the risk taken by IPP

25   Counsel can and should be a significant factor in computing what percentage of the fund to

26   award. See, e.g., Allapattah Servs. Inc. v. Exxon Corp., 454 F. Supp. 2d 1185, 2004-05 (S.D. Fla.

27                                         10
28     DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
      MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                             AWARDS – Master File No. CV-07-5944-SC
 Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 11 of 47




 1   2006) (“Factors indicating ‘exceptional success’ include success achieved under unusually

 2   difficult or risky circumstances and the size of plaintiffs’ recovery.” [Citation omitted].) As the

 3   courts have recognized, fee awards that compensate for risk do not result in any “windfall” or

 4   undue “bonus” for the attorney. Rather, the fees awarded are earned compensation, reflecting the

 5   need for the legal services market to compensate for the risk of non-payment for what can be

 6   thousands of hours of time spent and many thousands of dollars in costs and expenses advanced.

 7   Court-awarded fees that reflect that risk of loss simply make such representation competitive in

 8   the legal marketplace. See Ketchum v. Moses, 24 Cal.4th 1122, 1132-1138 (thorough discussion

 9   of risk multipliers).

10           20.     Several factors made this case especially high risk:

11                   a.      The financial risk was staggering. Over an eight-year period, IPP

12                           Counsel’s law firms have expended approximately 183,000 hours, all on a

13                           contingent fee basis. This is a tremendous commitment, much higher than

14                           in most cases, and consequently, one that imposed an exceptionally high

15                           risk: if this case had not been successful, IPP Counsel would have lost all

16                           of their lodestar totaling $83,753,999.05. IPP Counsel also are out-of-

17                           pocket more than $3,174,647 for costs and expenses; these funds also

18                           would have been unrecoverable if the case had not been successfully

19                           resolved.

20                   b.      The legal obstacles were formidable. As explained in IPP Counsel’s

21                           memoranda and declarations, the difficulties and uncertainties of winning

22                           this case, in terms of unsettled antitrust law, unsettled class certification

23                           law, and difficult obstacles to obtaining facts, were far greater than in most

24                           class actions (many of which settle readily after class certification is

25                           decided).

26

27                                         11
28     DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
      MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                             AWARDS – Master File No. CV-07-5944-SC
 Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 12 of 47




 1                  c.      Global entities such as many of the Defendants here had far more

 2                          resources to resist suits of this nature than IPP Counsel had to prosecute it.

 3                          Accordingly, Defendants were able to employ highly competent lawyers

 4                          from many preeminent law firms to mount an aggressive defense.

 5                  d.      Settlement of the case came only after extensive, hard-fought litigation

 6                          over discovery, class certification, and the merits, including preparation for

 7                          a lengthy trial. Contingent cases that must be tried or prepared for trial are

 8                          always far riskier than cases that settle earlier in the process. That is why

 9                          contingent fee agreements call for higher percentages in cases that must be

10                          tried or prepared for trial; the same principle applies here.

11   All of these facts show the extraordinary risk taken by IPP Counsel, justifying the lodestar

12   multiplier reflected in their percentage-based fee.

13          21.     Percentage-Fees Approved in Other Cases. A 33.3% fee also is squarely in line

14   with the range of reasonable attorneys’ fees awarded in other cases involving similar funds in

15   California and across the nation. See, e.g.,:

16                      In re Pacific Enter. Sec. Litig. , 47 F.3d 373 (9th Cir. 1995) (affirming 33-
17                       percent fee award in shareholder derivative action);

18                      In re Vitamins Antitrust Litig., MDL 1285, 2001 WL 34312839, at *10
19                       (D.D.C. 2001) (34.06% of $359,438,032);

20                      In Re IPO Secs. Litig., 671 F. Supp. 2d 467, 516 (S.D.N.Y. 2009) (33.3% of
21                       $510,253,000);

22                      In re Combustion, Inc., 968 F. Supp. 1116, 1136, 1142 (36% of
23                       $127,396,000);

24                      In re Apollo Group, Inc. Secs. Litig., No. 04-2147, 2012 WL 1378677, at *7
25                       (D. Ariz. 2012) (33% of $145 million);

26

27                                         12
28     DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
      MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                             AWARDS – Master File No. CV-07-5944-SC
 Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 13 of 47




 1                     Allapattah Servs. v. Exxon, 454 F. Supp. 2d at 1189 (31.33% of $1.075
 2                      billion).

 3          22.     Surveys of class action recoveries nationwide also confirm that the fee requested

 4   by IPP Counsel is reasonable. According to Professor Fitzpatrick’s empirical study, the most

 5   common percentages awarded by all federal courts in 2006 and 2007 using the percentage-of-the-

 6   fund method were 25%, 30%, and 33%, with nearly two-thirds of awards between 25% and 35%.

 7   See Fitzpatrick, Empirical Study, supra, at 833-34, 838. Professor Fitzpatrick also studied 111

 8   settlements in the Ninth Circuit where the percentage-of-the-fund method was used, and the

 9   resulting numbers were quite similar: the most common percentages were also 25%, 30%, and

10   33%, with the vast majority of awards also between 25% and 35%. Ibid. Likewise, a 1999

11   analysis of 1,349 shareholder class actions conducted by National Economic Research Associates

12   concluded that “[f]ee amounts average approximately 32 percent of the settlement award.” D.

13   Martin, V. Juneja, T. Foster and F. Dunbar, Recent Trends IV: What Explains Filings and

14   Settlements in Shareholder Class Actions, 5 Stan. J. L. Bus. & Fin. 121.

15          23.     Surveys of applicable reported fee decisions in California and throughout the

16   United States, as well as studies of both reported and unreported decisions, thus demonstrate that

17   common fund awards of 33.3% have become frequent if not commonplace. Placed within this

18   broader context, a fee of 33.3% of the fund for this long, heavily contested but highly successful

19   matter is certainly reasonable.

20          24.     Percentages Used in Private Fee Arrangements. One object of a common fund

21   award is to set a fee that approximates the probable terms of a contingent fee contract negotiated

22   by sophisticated lawyers and clients in comparable private litigation, as evidenced by the terms of

23   such contingent fee contracts. See Silver, A Restitutionary Theory of Attorneys’ Fees in Class

24   Actions (1991) 76 Cornell L.Rev. 656, 702-703 (goal “is to pay attorneys on terms they would

25   probably accept in an ex ante bargain, before the outcome of litigation is known”). Private

26   contingent fee agreements in personal injury and other types of cases usually provide for fees of

27                                         13
28     DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
      MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                             AWARDS – Master File No. CV-07-5944-SC
 Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 14 of 47




 1   33-40%, with the higher percentages applied to cases resolved through litigation rather than early

 2   settlement. See, e.g., Lester Brickman, ABA Regulation of Contingency Fees: Money Talks,

 3   Ethics Walks, 65 Fordham L. Rev. 247, 248 (1996) (noting that “standard contingency fees” are

 4   “usually thirty-three percent to forty percent of gross recoveries” [emphasis omitted]); Herbert

 5   M. Kritzer, The Wages of Risk: The Returns of Contingency Fee Legal Practice, 47 DePaul L.

 6   Rev. 267, 286 (1998) (reporting the results of a survey of Wisconsin lawyers, which found that

 7   “[o]f the cases with a [fee calculated as a] fixed percentage [of the recovery], a contingency fee

 8   of 33% was by far the most common, accounting for 92% of those cases”).

 9           25.     IPP Counsel’s fee request is well within that range. Here, it is beyond any

10   reasonable dispute that that if IPP Counsel had been able to negotiate a fee directly with the class

11   members, a 33.3% contingent fee would have been eminently reasonable for this complex a case,

12   one that seemed destined to result in a long trial. Given the prospective risks and difficulties of

13   this case, as well as the legal obstacles this case encountered until it was finally settled, for a class

14   member to obtain representation at no cost unless counsel was successful, and then at a cost of

15   only 33.3% of the total fund recovered, would have been quite reasonable. This is especially true

16   given the willingness of IPP Counsel’s law firms to advance approximately 183,000 hours of

17   time spent on the case and $3,174,647 million in costs, with no hope of recovering those funds

18   unless the case was successful.

19           26.     I have reviewed extensive evidence of the contingency fee percentages charged by

20   law firms to sophisticated institutional clients in large damage cases. In my experience, when

21   corporate or government clients hire law firms to litigate large claims on a contingent fee basis,

22   the contracts provide for fees in a range between 10 and 50 percent of the recovery. See Fisk,

23   Corporate Firms Try Contingency, National Law Journal (Oct. 27, 1997) p. A-l. Based on that

24   knowledge and my experience in the attorneys’ fees field generally, it is my opinion that if

25   competent and experienced attorneys and a sophisticated client were to negotiate a contingency

26   fee agreement under the circumstances of this case, a sophisticated client would be more than

27                                         14
28     DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
      MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                             AWARDS – Master File No. CV-07-5944-SC
 Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 15 of 47




 1   willing to enter into a retainer agreement for a contingent fee under which: a) the client would

 2   owe no fees unless the case was successful; b) the attorneys would pay all litigation expenses;

 3   and c) the attorneys would recover, if successful, 33.3% of the total fund recovered.

 4          IPP Counsel’s Lodestar/Multiplier Cross-Check Confirms That A 33.3% Fee Is
            Reasonable
 5

 6          27.     In my opinion, based on my extensive experience with attorneys’ fee matters and

 7   the legal marketplace, the reasonableness of counsel’s percentage-based fee is confirmed by

 8   cross-checking it against a lodestar-based fee: (a) The hourly rates utilized in the lodestar cross-

 9   check are in line with those charged by comparably qualified attorneys for comparable work in

10   the legal marketplace; (b) the hours spent are consistent with those that would be expected in a

11   matter of this duration, complexity, and amounts at stake; and (c) regardless of whether historical

12   or current rates are used, the lodestar multipliers applied are consistent with the fees charged in

13   the legal marketplace and therefore reasonable. I base that opinion on the following:

14          IPP Counsel’s Hourly Rates Are Reasonable

15          28.     I have reviewed a summary of the “Exhibit 2’s” filed with each IPP Counsel

16   firm’s declaration and from that review am aware of the hourly rates utilized by IPP Counsel in

17   their lodestar cross-check. I am familiar with the backgrounds, qualifications, and rates of a

18   number of these firms, having served as an expert in the TFT/LCD matter. I also have reviewed

19   the qualifications, background, and rates of the other firms who are submitting declarations, and

20   it is my opinion they are in line with the rates charged by comparably qualified attorneys in this

21   District for comparably complex work.

22          29.     Through my writing and practice, I have become familiar with the non-

23   contingent market rates charged by attorneys in California and elsewhere. This familiarity has

24   been obtained in several ways: (a) by handling attorneys’ fee litigation; (b) by discussing fees

25   with other attorneys; (c) by obtaining declarations regarding prevailing market rates in cases in

26   which I represent attorneys seeking fees; and (d) by reviewing attorneys’ fee applications and

27                                         15
28     DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
      MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                             AWARDS – Master File No. CV-07-5944-SC
 Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 16 of 47




 1   awards in other cases, as well as surveys and articles on attorney’s fees in the legal newspapers

 2   and treatises. I also have testified before trial courts or arbitrators on numerous occasions, and

 3   have submitted expert testimony by declaration on hundreds of occasions: each of those efforts

 4   require me to be aware of the hourly rates being charged. The information I have gathered, some

 5   of which is set forth below, shows that the rates requested by IPP Counsel are in line with the

 6   non-contingent market rates charged in this District by attorneys of reasonably comparable

 7   experience, skill, and reputation for reasonably comparable services.

 8          30.     Comparable hourly rates have been found reasonable in numerous cases,

 9   including the following:

10                                               2015 Rates

11                  a.      O’Bannon v. National Collegiate Athletic Assn., 2015 U.S. Dist. LEXIS

12          91514 (N.D. Cal. 2015), filed July 13, 2015, a group antitrust action, in which the court

13          found the following hourly rates reasonable:

14

15                   Years of Experience             Rate

16                   45                              $985

17                   37                              935-895

18                   15                              610-510

19                   14                              600

20                   7                               490

21                   3                               370

22                   Paralegals                      300-320

23                   Law Clerks                      325

24

25                  b.      Wynn v. Chanos, 2015 U.S .Dist. LEXIS 80062 (N.D. Cal. 2015), filed

26          June 19, 2015, an anti-SLAPP fee award, in which the court found the following hourly

27                                         16
28     DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
      MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                             AWARDS – Master File No. CV-07-5944-SC
 Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 17 of 47




 1       rates reasonable:

 2

 3               Years of Experience           2015/2014 Rates

 4               40                            $1085/1035

 5               35                             750

 6               20                             920/875

 7               6                              710/645

 8               4                              640/570

 9

10                                          2014 Rates

11              a.      Ammari v. Pacific Bell Directory, Alameda Superior Court No.

12       RG05198014, Order Granting Plaintiffs’ Application for Attorney’s Fees, Reimbursement

13       of Costs, and Service Awards, filed January 5, 2015, a consumer class action, in which

14       the court found the following hourly rates reasonable:

15
                      Years of Experience                         Rate
16
                 49                                               $995
17
                 45                                               700
18
                 39                                               800
19
                 39                                               750
20
                 37                                               895
21
                 33                                               650
22
                 24                                               720
23
                 24                                               450
24
                 23                                               700
25
                 23                                               650
26

27                                        17
28    DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
     MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                            AWARDS – Master File No. CV-07-5944-SC
 Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 18 of 47




 1               19                                              650

 2               19                                              625

 3               19                                              475

 4               14                                        600 (as Partner)
                                                          475 (as Associate)
 5
                 12                                              340
 6
                 11                                              500
 7
                 9                                               375
 8
                 8                                               655
 9
                 4                                               375
10

11
                b.        Banas v. Volcano Corp., 47 F.Supp.3d 957 (N.D. Cal. 2014), a dispute
12
         over a merger agreement decided on summary judgment, in which the court found the
13
         following hourly rates reasonable:
14

15                   Years of Experience (in 2014)     2012      2013          2014

16               31                                    $975      $1,035        $1,095

17               17                                    $670      $710          $770

18               9                                     $550      $645          $685

19               7                                     $500      $585          $685

20               6                                               $530          $620

21               3                                               $355          $445

22               E-Discovery Staff Attorney                      $260          $325

23               Paralegal                             $245      $260          $275
24               Paralegal                                                     $290
25

26

27                                        18
28    DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
     MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                            AWARDS – Master File No. CV-07-5944-SC
 Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 19 of 47




 1

 2                                          2013 Rates

 3              a.     Ellis v. Costco Wholesale Corp., N.D. Cal. No. C04-3341 EMC, Order

 4       Granting Motion for Final Approval of Class Action Settlement, filed May 27, 2014, an

 5       employment class action, in which the court found the following hourly rates reasonable:

 6
                 Years of Experience                         Rate
 7
                 38                                          $700
 8
                 35                                           825
 9
                 30                                           650-825
10
                 29                                           875
11
                 19                                           725
12
                 9                                            500
13
                 8                                            460
14
                 7                                            425-575
15
                 6                                            435
16
                 3                                            315
17
                 Paralegals                                   155-295
18
                 Law Clerks                                   185-275
19

20
                b.     In re Pacific Bell Late Fee Litigation, Contra Costa County Superior Ct.
21
         No. MSC10-00840, Order Awarding Attorneys’ Fees, Costs and Expenses and
22
         Authorizing Payment of Incentive Award to the Class Representative, filed October 18,
23
         2013, a consumer class action, in which the court found the following hourly rates
24
         reasonable:
25

26

27                                        19
28    DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
     MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                            AWARDS – Master File No. CV-07-5944-SC
 Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 20 of 47




 1                Years of Experience                         Rate

 2                17                                          $850

 3                16                                           680

 4                11 (partner)                                 680

 5                36                                           675

 6                32                                           675

 7                28 (assoc.)                                  620

 8                4                                            400

 9                3                                            390

10                Paralegals and Litigation Support            160-180

11              c.      Reuters America LLC v. The Regents of the Univ. of Calif., Alameda
12       County Superior Court No. RG12-613664, Order Granting in Part Motion of Plaintiff for
13       Attorneys’ Fees filed May 2, 2013, reversed on the merits sub nom Regents of U.C. v.
14       Superior Court, 222 Cal.App.4th 383 (2014), a California Public Records Act action, in
15       which the trial court found the following hourly rates reasonable, before applying a 1.3
16       lodestar multiplier:
17
                  Years of Experience                         Rate
18
                  31                                          $785
19
                  27                                           600
20
                  6                                            400
21

22
                                             2012 Rates
23

24              a.      In re TFT-LCD (Flat Panel) Antitrust Litigation, 2013 U.S.Dist. LEXIS

25       49885 (N.D. Cal. 2013), an antitrust class action, in which the court found the following

26       hourly rates reasonable:

27                                        20
28    DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
     MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                            AWARDS – Master File No. CV-07-5944-SC
 Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 21 of 47




 1             Zelle Hofman

 2             Bar Admission          Rate

 3             1967                   $1000

 4             1978                        861

 5             2001                        619

 6             2002                        525

 7             2005                        500

 8             2006                        472

 9             2009                        417

10

11             Steyer, Lowenthal et al.

12             Bar Admission          Rate 2012       Rate 2011       Rate 2010

13             1981                   $820            $770            $730

14             1995                       660           640            590

15             2007                       380           360            320

16             2008                       380           360            320

17             1982                       750           710            680

18             Paralegal                  190

19

20             Cooper & Kirkham

21             Bar Admission          Rates 2010-2012

22             1964                   $950

23             1975                       825

24             2001                       550

25              b.     Luquetta v. The Regents of the Univ. of California, San Francisco Superior
26       Ct. No.CGC-05-443007, Order Granting Plaintiffs’ Motion for Common Fund Attorneys’
27                                        21
28    DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
     MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                            AWARDS – Master File No. CV-07-5944-SC
 Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 22 of 47




 1          Fees and Expenses, filed October 31, 2012, a class action to recover tuition overcharges,

 2          in which the court found the following hourly rates reasonable:

 3
                   Bar Admission            Rate
 4
                   1977                     $850
 5
                   1986                        785
 6
                   1991                        750
 7
                   1994                        700
 8
                   1998                        625
 9
                   2000                        570
10
                   2001                        550
11
                   2002                        520
12
                   Law Clerks                  250
13
                   Paralegals                  215
14

15
            31.     Numerous other fee awards also show that counsel’s historical rates for those
16
     periods are in line with rates found reasonable in other cases. These include:
17
                       Holloway et. al. v. Best Buy Co., Inc., No. 05-5056 PJH (N.D. Cal. 2011)
18
                        Order dated November 9, 2011), a class action alleging that Best Buy
19
                        discriminated against female, African American and Latino employees by
20
                        denying them promotions and lucrative sales positions, in which the court
21
                        approved a lodestar award based on rates of up to $825 per hour;
22
                       Californians for Disability Rights, Inc., et al. v. California Department of
23
                        Transportation, et al., 2010 U.S.Dist. LEXIS 141030 (N.D. Cal. 2010),
24
                        adopted by Order Accepting Report and Recommendation filed February 2,
25
                        2011, a class action in which the court found reasonable 2010 hourly rates of
26
                        up to $835 per hour;
27                                         22
28     DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
      MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                             AWARDS – Master File No. CV-07-5944-SC
 Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 23 of 47




 1                 Credit/Debit Card Tying Cases, San Francisco County Superior Court, JCCP
 2                  No. 4335, Order Granting Plaintiffs’ Motion for Attorneys’ Fees, Expenses,

 3                  and Incentive Awards, filed August 23, 2010, an antitrust class action, in

 4                  which the court found reasonable 2010 hourly rates of $975 for a 43-year

 5                  attorney, $950 for a 46-year attorney, $850 for 32 and 38 year attorneys, $825

 6                  for a 35-year attorney, $740 for a 26-year attorney, $610 for a 13-year

 7                  attorney, $600 for a 9-year attorney, and $485 for a 5-year attorney, before

 8                  applying a 2.0 lodestar multiplier;

 9                 Savaglio, et al. v. WalMart, Alameda County Superior Court No. C-835687-7,
10                  Order Granting IPP Counsel’s Motion for Attorneys’ Fees, filed September 10,

11                  2010, a wage and hour class action, in which the court found reasonable rates

12                  of up to $875 per hour for a 51-year attorney, $750 for a 39-year attorney, and

13                  $775 for a 33-year attorney, before applying a 2.36 multiplier.

14       32.    I also base my opinion on several surveys of legal rates, including the following:

15                 On January 5, 2015, the National Law Journal published an article about its
16                  most recent rate survey entitled “Billing Rates Rise, Discounts Abound.” A

17                  true and correct copy of that article is attached hereto as Exhibit B. It contains

18                  the rates charged by numerous law firms handling comparably complex

19                  litigation in this area. IPP Counsel’s attorneys’ rates are well in line with
                    those rates.
20
                   On January 13, 2014, the National Law Journal published an article about its
21
                    most recent rate survey. That article included a chart listing the billing rates of
22
                    the 50 firms that charge the highest average hourly rates for partners. A true
23
                    and correct copy of that article is attached hereto as Exhibit C. Of the 50 firms
24
                    listed, several have offices in the San Francisco Bay Area and many others
25
                    have significant litigation experience in this area. And, although the rates that
26
                    some IPP Counsel are requesting here are considerably lower than the rates
27                                        23
28    DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
     MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                            AWARDS – Master File No. CV-07-5944-SC
 Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 24 of 47




 1                  charged by the listed firms, the NLJ chart does show the rates requested here

 2                  are in line with the rates charged by similarly qualified attorneys for similar

 3                  services, which is the applicable standard. See, e.g., Davis v. City & County of

 4                  San Francisco, supra, 976 F.2d at 1547.

 5                 The 2013 Real Rate Report Snapshot published by Ty Metrix/Legal Analytics
                    summarizes the 2012 “real rates” for partners and associates in various cities.
 6
                    A copy of the relevant pages is attached hereto as Exhibit D. It shows that for
 7
                    the San Francisco area law firms surveyed (309 partners, 327 associates), the
 8
                    Third Quartile partner rate in 2012 was $800 per hour and the Third Quartile
 9
                    Associate rate in 2012 was $525 per hour. Given the excellent quality of the
10
                    work performed and exceptional results obtained here, in my opinion the Third
11
                    Quartile rates should serve only as a floor on counsel’s rates – the primary
12
                    attorneys in this matter would more appropriately be measured by the top ten
13
                    percent (90th percentile) of attorneys. Moreover, since 2012, many if not most
14
                    California law firms have raised their rates by at least another 5-10%, with
15                  some raising them by 5% or so annually. Indeed, the Ty-Metrix survey shows
16                  that San Francisco partner rates rose 8.3% between 2010 and 2012, and
17                  associate rates rose 8.5% in the same period.
18                 In an article entitled “On Sale: The $1,150-Per Hour Lawyer,” written by
19                  Jennifer Smith and published in the Wall Street Journal on April 9, 2013, the

20                  author describes the rapidly growing number of lawyers billing at $1,150 per

21                  hour or more revealed in public filings and major surveys. A true and correct

22                  copy of that article is attached hereto as Exhibit E. The article also notes that

23                  in the first quarter of 2013, the 50 top-grossing law firms billed their partners
                    at an average rate between $879 and $882 per hour.
24
                   On August 10, 2012, the San Francisco Daily Journal published an article
25
                    summarizing the findings in the Valeo 2012 Halftime Report, a survey of legal
26
                    billing rates conducted by Valeo Partners LLC. A true and correct copy of
27                                        24
28    DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
     MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                            AWARDS – Master File No. CV-07-5944-SC
 Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 25 of 47




 1                  that article is attached hereto as Exhibit F. That survey showed that in 2012,

 2                  the average partner and associate hourly rates in San Francisco were $675 and

 3                  $482 respectively. And again, since 2012, most firms have raised their rates

 4                  by at least 5-10%.

 5                 In an article published April 16, 2012, the Am Law Daily described the 2012

 6                  Real Rate Report, an analysis of $7.6 billion in legal bills paid by corporations

 7                  over a five-year period ending in December 2011. A true and correct copy of

 8                  that article is attached hereto as Exhibit G. That article confirms that the rates

 9                  charged by experienced and well-qualified attorneys continued to rise over the

10                  five-year period between 2006 and 2011, particularly in large urban areas. It

11                  also shows, for example, that the top quartile of lawyers bill at an average of

12                  “just under $900 per hour.”

13                 Similarly, on February 25, 2011, the Wall Street Journal published an on-line

14                  article entitled “Top Billers.” A true and correct copy of that article is

15                  attached hereto as Exhibit H. That article listed the 2010 and/or 2009 hourly

16                  rates for more than 125 attorneys, in a variety of practice areas, who charged

17                  $1,000 per hour or more.

18                 On February 22, 2011, the ALM’s Daily Report listed the 2006-2009 hourly

19                  rates of numerous San Francisco attorneys. A true and correct copy of that

20                  article is attached hereto as Exhibit I. Even though rates have increased

21                  significantly since that time (see Exhibit B), IPP Counsel’s rates are well

22                  within the range of rates shown in this survey.

23                 The Westlaw CourtExpress Legal Billing Reports for May, August, and

24                  December 2009 (attached hereto as Exhibit J) show that in 2009, attorneys

25                  with as little as 19 years’ experience were charging $800 per hour or more,

26

27                                        25
28    DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
     MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                            AWARDS – Master File No. CV-07-5944-SC
 Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 26 of 47




 1                       and that the rates requested here are in line with the range of those reported.

 2                       Again, current rates are significantly higher.

 3                      The National Law Journal’s December 2010 nationwide sampling of law firm
 4                       billing rates (Exhibit K) lists 32 firms whose highest rate was $800 per hour or

 5                       more, eleven firms whose highest rate was $900 per hour or more, and three

 6                       firms whose highest rate was $1,000 per hour or more.

 7                      On December 16, 2009, The American Lawyer published an online article
 8                       entitled “Bankruptcy Rates Top $1,000 in 2008-2009. That article is attached

 9                       hereto as Exhibit L. In addition to reporting that several attorneys had charged

10                       hourly rates of $1,000 or more in bankruptcy filings in Delaware and the

11                       Southern District of New York, the article also listed 18 firms that charged

12                       median partner rates of from $625 to $980 per hour. Since by law, bankruptcy

13                       rates must be no higher than the rates charged for other types of similar work,

14                       these rates are probative here.

15             33.   Lastly, the standard hourly rates for litigation stated in court filings, depositions,

16   surveys, or other sources by numerous law firms or law firms with offices or practices in

17   California also support IPP Counsel’s rates. For example, numerous firms with offices in San

18   Francisco, including Altshuler Berzon LLP, Arnold & Porter LLP, Bingham McCutchen, Cooley

19   LLP, Fenwick & West, and Rosen, Bien, Galvan & Grunfeld LLP, had numerous senior

20   attorneys charging rates of $800 per hour or more in the 2007-2015 period. A number of other

21   California and San Francisco firms, some of whom represented Defendants in this litigation,

22   including Gibson, Dunn & Crutcher LLP, Pillsbury Winthrop Shaw Pittman LLP, Sidley Austin,

23   and Winston & Strawn, billed senior partners at rates in excess of $1,000 per hour during this

24   period.

25             34.   More specifically, IPP Counsel’s rates also are supported by the standard hourly

26   non-contingent rates for comparable civil litigation stated in court filings, depositions, surveys, or

27                                         26
28     DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
      MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                             AWARDS – Master File No. CV-07-5944-SC
 Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 27 of 47




 1   other reliable sources by numerous California law firms or law firms with offices or practices in

 2   California. These rates include, in alphabetical order:

 3
             Altshuler Berzon LLP
 4
             2014 Rates:        Years of Experience                 Rate
 5
                                38                                  $895
 6
             2012 Rates:        Years of Experience                 Rate
 7
                                34                                  $850
 8
                                26                                   785
 9
                                21                                   750
10
                                18                                   700
11
                                14                                   625
12
                                12                                   570
13
                                11                                   550
14
                                10                                   520
15
                                 6                                   410
16
                                 5                                   385
17
                                 4                                   335
18
                                Law Clerks                           250
19
                                Paralegals                           215
20
             2011 Rates:        Years of Experience                 Rate
21
                                43                                  $825
22
                                17                                   675
23
                                12                                   575
24
                                10                                   520
25
                                Law Clerks                           225
26

27                                         27
28     DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
      MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                             AWARDS – Master File No. CV-07-5944-SC
 Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 28 of 47




 1                       Paralegals                     215

 2

 3        Arnold &
          Porter LLP
 4

 5        2015 Rates:    Years of Experience           Rate

 6                       42                            $1,035

 7                       41                              990

 8                       40                             1,085

 9                       22                              875

10                       20                              920

11                       6                               710

12                       4                               640

13                       3                              500

14        2014 Rates:    Years of Experience           Rate

15                       49                            $995

16                       41                             985

17                       40                             945

18                       39                            1,035

19                       21                             835

20                       19                             875

21                       5                              645

22                       3                              570

23                       2                              430

24                       Legal Assistant               300-325

25        2013 Rates:                                  Rate

26

27                                        28
28    DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
     MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                            AWARDS – Master File No. CV-07-5944-SC
 Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 29 of 47




 1                       40                            $955

 2                       20                             795

 3                       Average Partner

 4                                                     815

 5                       Highest Partner               950

 6                       Lowest Partner                670

 7                       Average Associate             500

 8

 9        The Arns Law Firm LLP

10        2014 Rates:    Years of Experience           Rate

11                       37                            $950

12                       Law Clerks                     165

13

14        Bingham McCutchen

15        2013 Rates:    Average Partner               $795

16                       Highest Partner               1,080

17                       Lowest Partner                 220

18                       Average Associate              450

19                       Highest Associate              605

20

21        Burson & Fisher

22        2013 Rates:    Years of Experience           Rate

23                       16                            $680-850

24                       11                             680

25                          4                           400

26                          3                           390

27                                        29
28    DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
     MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                            AWARDS – Master File No. CV-07-5944-SC
 Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 30 of 47




 1                             2                             375

 2                             1                             300

 3                         Law Clerks                        225

 4                         Litigation Support Specialists    180

 5

 6        Cooley LLP

 7        2012-    Years of             2012     2013       2014
                   Experience
 8        2014
                   (in 2014)
 9        Rates:

10                 31                   $975     $1,035     $1,095

11                 17                    670      710        770

12                 9                     550      645        685

13                 7                     500      585        685

14                 6                              530        620

15                 3                              355        445

16                 Paralegal                      260        325

17                 Paralegal            245       260        275

18                 Paralegal                                 290

19

20        Cotchett, Pitre &
          McCarthy LLP
21

22        2014 Rates:              Years of Experience      Rate

23                                 33                       $775

24                                 22                        775

25                                 15                        500

26                                 4                         360

27                                        30
28    DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
     MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                            AWARDS – Master File No. CV-07-5944-SC
 Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 31 of 47




 1                            Paralegals, case assistants,    225-250

 2                            law clerks

 3

 4        Covington Burling

 5        2014 Rates          Level                          Rate

 6

 7                            Average Partner                $780

 8                            Highest Partner                 890

 9                            Lowest Partner                  605

10                            Average Associate               415

11                            Highest Associate               565

12                            Lowest Associate                320

13

14        Fenwick & West

15        2014 Rates          Years of Experience            Rate
16                            29                             $825-930
17                            17-18                           715-750
18                            9-11                            660-690
19                            5                               375-560
20                            3                               505
21                            Paralegal                       240-345
22                            Staff Support                   290
23        2013 Rates          18                             $755
24                            11                              595
25                            2                               425
26        2012 Rates          40                             $865
27                                        31
28    DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
     MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                            AWARDS – Master File No. CV-07-5944-SC
 Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 32 of 47




 1                          17                          755

 2                          10                          595

 3

 4        Gibson Dunn & Crutcher LLP

 5        2015 Rates:       Years of Experience        Rate

 6                          37                         $1,125

 7                          23                          955

 8                           3                          575

 9        2014 Rates        36                         $1,080

10                          22                          910

11                           9 (Of Counsel)             740

12                           6                          690

13                           2                          485

14        2013 Rates        35                         $1,040

15                           5                          625

16                          Paralegal                   345

17

18        Hausfeld LLP

19        2014 Rates        Years of Experience         Rate

20                          45                         $985

21                          37                          935-895

22                          15                          610-510

23                          14                          600

24                          7                           490

25                          3                           370

26                          Paralegals                  300-320

27                                        32
28    DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
     MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                            AWARDS – Master File No. CV-07-5944-SC
 Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 33 of 47




 1                          Law Clerks                  325

 2

 3        Irell & Manella

 4        2013 Rates        Average Partner            $890

 5                          Highest Partner             975

 6                          Lowest Partner              800

 7                          Average Associate           535

 8                          Highest Associate           750

 9                          Lowest Associate            395

10

11        Jones Day

12        2013 Rates        Average Partner            $745

13                          Highest Partner             975

14                          Lowest Partner              445

15                          Average Associate           435

16                          Highest Associate           775

17                          Lowest Associate            205

18

19        Kiesel, Boucher, Larson LLP

20        2012 Rates        Years of Experience         Rate

21                          Partners

22                          27-28                      $890

23                          Associates                  625-325

24

25        Kingsley & Kingsley

26        2010 Rates        Years of Experience         Rate

27                                        33
28    DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
     MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                            AWARDS – Master File No. CV-07-5944-SC
 Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 34 of 47




 1                           14                        $655

 2                           8                          475-515

 3                           7                          475

 4                           6                          485

 5                           5                          375

 6                           3                          350

 7                           2                          300

 8

 9        Kirkland & Ellis

10        2013 Rates         Average Partner           $825

11                           Highest Partner            995

12                           Lowest Partner             590

13                           Average Associate          540

14                           Highest Associate          715

15                           Lowest Associate           235

16

17        Latham & Watkins

18        2013 Rates         Average Partner           $990

19                           Highest Partner           1,100

20                           Lowest Partner             895

21                           Average Associate          605

22                           Highest Associate          725

23                           Lowest Associate           465

24

25        Lieff Cabraser Heimann & Bernstein, LLP

26        2014 Rates         Year of Bar Admission      Rate

27                                        34
28    DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
     MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                            AWARDS – Master File No. CV-07-5944-SC
 Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 35 of 47




 1                          1998                       $825

 2                          2001                        600

 3                          2006                        435

 4                          2009                        415

 5                          2013                        325

 6                          Paralegal/Clerk             305

 7        2013 Rates        1975                       $925

 8                          1998                        800

 9                          2001                        525

10                          2003                        490

11                          2006                        415

12                          2009                        395

13                          2013                        320

14                          Paralegal/Clerk             285

15

16        Morrison Foerster LLP

17        2013 Rates        Level                      Rate

18                          Average Partner            $865

19                          Highest Partner            1,195

20                          Lowest Partner              595

21                          Average Associate           525

22                          Highest Associate           725

23                          Lowest Associate            230

24

25
          O’Melveny & Myers
26

27                                        35
28    DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
     MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                            AWARDS – Master File No. CV-07-5944-SC
 Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 36 of 47




 1        2013 Rates          Level                    Rate

 2                            Average Partner          $715

 3                            Highest Partner           950

 4                            Lowest Partner            615

 5        2012 Rates:         Years of Experience      Rate

 6                            12                       $695

 7                            4                         495

 8

 9        Orrick Herrington & Sutcliffe

10        2014 Rates          Level                    Rate

11                            Average Partner           $845

12                            Highest Partner          1,095

13                            Lowest Partner            715

14                            Average Associate         560

15                            Highest Associate         710

16                            Lowest Associate          375

17

18        Paul Hastings LLP

19        2014 Rates          Level                    Rate

20                            Average Partner           $815

21                            Highest Partner            900

22                            Lowest Partner             750

23                            Average Associate          540

24                            Highest Associate          755

25                            Lowest Associate           595

26

27                                        36
28    DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
     MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                            AWARDS – Master File No. CV-07-5944-SC
 Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 37 of 47




 1        Pillsbury Winthrop Shaw Pittman LLP

 2        2013 Rates        Level                      Rate

 3                          Average Partner             $865

 4                          Highest Partner            1,070

 5                          Lowest Partner              615

 6                          Average Associate           520

 7                          Highest Associate           860

 8                          Lowest Associate            375

 9        2010 Rates        Partners

10                          30                         $705-775

11                          Other Partners              595-965

12                          Associates                  320-650

13                          Paralegals/Support Staff     85-380

14

15        Rosen, Bien, Galvan & Grunfeld LLP

16        2015 Rates        Years of Experience        Rate

17                          Partners

18                          53                         $930

19                          35                          840

20                          34                          775

21                          31                          710

22                          18                          690

23                           9                          525

24                          Associates                 380-490

25                          Paralegals                 250-295

26                          Law Students                275

27                                        37
28    DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
     MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                            AWARDS – Master File No. CV-07-5944-SC
 Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 38 of 47




 1                          Support Staff              85-220

 2        2014 Rates        Partners

 3                          52                         $900

 4                          34                          800

 5                          30                          675

 6                          17                          650

 7                          Associates                 350-550

 8                          Paralegals                 230-290

 9                          Law Students                 260

10                          Support Staff              80-215

11        2013 Rates        Partners

12                          51                         $875

13                          33                          780

14                          29                          660

15                          16                          630

16                          Of Counsel

17                          30                          580

18                          Associates

19                          20                          550

20                          10                          480

21                          9                           465

22                          8                           445-450

23                          7                           440

24                          6                           435

25                          5                           405

26                          4                           375

27                                        38
28    DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
     MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                            AWARDS – Master File No. CV-07-5944-SC
 Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 39 of 47




 1                          3                                355

 2                          Paralegals                      220-280

 3                          Litigation Support/ Paralegal    170
                            clerk
 4
                            Law Clerk/Students              250
 5
                            Word Processing                  80
 6
          2012 Rates        Partners
 7
                            50                              $860
 8
                            32                               760
 9
                            28                               640
10
                            15                               610
11
                            Of Counsel
12
                            29                               570
13
                            Associates
14
                            19                               540
15
                            10                               470
16
                            9                                460
17
                            7                                400
18
                            6                                400
19
                            5                                380
20
                            4                                360
21
                            3                                340
22
                            Paralegals                      215-280
23
                            Litigation Support/ Paralegal    150
24
                            clerk
25
                            Law Clerk/Students              240
26
                            Word Processing                  80
27                                        39
28    DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
     MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                            AWARDS – Master File No. CV-07-5944-SC
 Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 40 of 47




 1        2011 Rates        Partners

 2                          49                              $840

 3                          31                               740

 4                          27                               625

 5                          14                               590

 6                          Of Counsel

 7                          28                               540

 8                          Associates

 9                          18                               525

10                          11                               465

11                          10                               450

12                          9                                440

13                          8                                420

14                          6                                385

15                          5                                365

16                          4                                350

17                          3                                325

18                          2                                315

19                          Paralegals                      205-275

20                          Litigation Support/ Paralegal    140-220
                            clerk
21
                            Law Clerk/Students              225
22
                            Word Processing                   75
23
          2010 Rates        Partners
24
                            48                              $800
25
                            30                               700
26
                            26                               575
27                                        40
28    DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
     MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                            AWARDS – Master File No. CV-07-5944-SC
 Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 41 of 47




 1                          13                               560

 2                          Of Counsel

 3                          27                               520

 4                          Associates

 5                          17                               510

 6                          13                               490

 7                          9                                430

 8                          8                                415

 9                          7                                390

10                          5                                360

11                          3                                325

12                          1                                285

13                          Paralegals                       200-275

14                          Litigation Support/ Paralegal    135-220
                            clerk
15

16
          Sidley Austin
17
          2010 Rates        Years of Experience             Rate
18
                            Partners
19
                            33                              $900
20
                            Senior Partners                 1,100
21
                            Legal Assistants                 120-280
22

23
          Skadden, Arps, Slate, Meagher & Flom
24
          2013 Rates        Average Partner                 $1,035
25
                            Highest Partner                  1,150
26
                            Lowest Partner                    845
27                                        41
28    DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
     MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                            AWARDS – Master File No. CV-07-5944-SC
 Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 42 of 47




 1                                  Average Associate                    620

 2                                  Highest Associate                    845

 3                                  Lowest Associate                     340

 4

 5            Wilson Sonsini Goodrich & Rosati PC

 6            2010 Rates            Years of Experience              Rate

 7                                  28                               $875

 8                                  Other Partners                     650-975

 9                                  Associates                         290-610

10                                  Paralegals/Litigation Support      120-300

11

12          35.     In addition, the rates charged by counsel in Apple Inc. v. Samsung Electronics Co.

13   Ltd., N.D. Cal. No. 11-cv—01846-LKK (PSG), support the rates requested here. In that case,

14   according to the declaration filed by Diane C. Hutnyan on July 22, 2012 (Dkt. No. 1275), Quinn

15   Emanuel Urquhart & Sullivan LLP, counsel for defendant Samsung, charged median partner

16   rates of $821 per hour and median associate rates of $448 per hour.

17          36.     The foregoing data shows that the non-contingent rates requested by IPP

18   Counsel’s attorneys for their work on behalf of Plaintiffs as part of their lodestar calculation are

19   well within the range of non-contingent rates charged by comparably qualified attorneys for

20   reasonably similar work.

21          37.     As noted, the hourly rates set forth above are those charged where full payment is

22   expected promptly upon the rendition of the billing and without consideration of factors other

23   than hours and rates. If any substantial part of the payment were to be contingent or deferred for

24   any substantial period of time, for example, the fee arrangement would be adjusted accordingly to

25   compensate the attorneys for those factors. See ¶¶ 39-46 infra.

26          The Number Of Hours Is Within The Expected Range

27                                         42
28     DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
      MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                             AWARDS – Master File No. CV-07-5944-SC
 Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 43 of 47




 1          38.     Based on my review of the materials noted above, and my extensive experience

 2   with comparable class action cases, the number of hours expended by IPP Counsel here appears

 3   to be in the ballpark for a case of this broad scope, extreme complexity, and long duration, and

 4   therefore reasonable. I do not purport to have done a time entry by time entry type review of

 5   counsel’s time records or to have reviewed parts of the file not listed above. I have, however,

 6   reviewed a significant sample of the time allocations for many of the principal IPP Counsel firms

 7   and they appear to be quite reasonable to me. In addition, the vigorous defense tendered by the

 8   Defendants, which were represented by numerous high caliber law firms, supports this view, as

 9   does the exceptional work performed by all IPP Counsel, as set forth in detail in the Declaration

10   of Mario Alioto. It also appears that IPP Counsel have exercised significant billing judgment,

11   both by eliminating all time devoted to internal matters and this motion, and by counsel’s Audit

12   Committee’s careful review of all the firms’ time summaries.

13          The Lodestar/Multiplier Is Reasonable

14          39.     In my opinion, the 2.3 or 2.13 lodestar-multipliers reflected in a 33.3%

15   percentage-based fee (depending on whether current or historical rates are used) also are

16   consistent with the legal marketplace and eminently reasonable. My opinion is based on the

17   following factors: (a) the exceptional results obtained for the class; (b) the extremely complex

18   nature of this long-lasting litigation, and the difficulties and obstacles overcome; (c) the great risk

19   counsel took in pursuing this case on a wholly contingent basis; (d) the delay in payment (when

20   historical rates are used); (e) the continuing obligations of counsel to the class; (f) the public

21   service performed; (g) a comparison to the lodestar multipliers applied in comparable cases; and

22   (h) the contingent fees charged in the private marketplace.

23          40.     Several of these factors have been discussed previously: the exceptional results

24   achieved for the class (¶ 17), the extremely complex and difficult nature of this lengthy litigation

25   (¶ 18), and the enormous financial risk taken by plaintiffs’ counsel (¶¶ 19-20). Those factors will

26   not be discussed again here; instead, the Court is respectfully referred to the cited paragraphs.

27                                         43
28     DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
      MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                             AWARDS – Master File No. CV-07-5944-SC
 Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 44 of 47




 1   Other factors, however, are relevant primarily to a lodestar-multiplier determination, and they too

 2   demonstrate that the multiplier applied here by a 33.3% fee is reasonable. Those factors are:

 3          41.     The Delay in Payment. To the extent historical rates are used to calculate IPP

 4   Counsel’s lodestar, the plain fact is that those figures provide no compensation to IPP Counsel

 5   for the long delays in receiving compensation for work done as long ago as 2007. As the

 6   Supreme Court has recognized: “Clearly, compensation received several years after the services

 7   were rendered—as it frequently is in complex civil rights litigation—is not equivalent to the same

 8   dollar amount received reasonably promptly as the legal services are performed, as would

 9   normally be the case with private billings.” Missouri v Jenkins, 491 U.S. 274, 283 (1989). That

10   delay factor alone would account for a significant multiplier.

11          42.     The Continuing Obligations of Counsel to the Class. IPP Counsel’s requested

12   multiplier also is reasonable in light of the fact that a 33.3% fee awarded will compensate not

13   only the work already performed but possibly all future work as well, i.e., their continuing

14   obligation to the class members to oversee the claims payment process. In addition, since it is a

15   fair possibility that one or more objectors will challenge the settlement and perhaps appeal any

16   approval, IPP Counsel will likely be required to protect the class’s interests before the Ninth

17   Circuit Court of Appeals. In effect, this means that the current lodestar could actually be

18   understated, and the 2.13 or 2.3 multipliers may actually be lower.

19          43.     The Public Service Performed by IPP Counsel. The public interest served by

20   Plaintiffs’ lawsuit also supports the fee sought. See State v. Meyer (1985) 174 Cal.App.3d 1061,

21   1073 (the “public service element . . . and motivation to represent consumers and enforce laws”

22   may justify lodestar enhancement). In this case, IPP Counsel have enforced our nation’s antitrust

23   and consumer protection laws against some of the world’s largest corporations. The fundamental

24   importance of these laws has been repeatedly recognized: An award of the requested fee will

25   encourage other attorneys to take on similar cases and deter the Defendants and other

26   manufacturers from engaging in similar unlawful practices. See, e.g., Chabner v. United of

27                                         44
28     DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
      MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                             AWARDS – Master File No. CV-07-5944-SC
 Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 45 of 47




 1   Omaha Life Ins. Co., 1999 U.S.Dist.LEXIS 16552 (N.D.Cal. 1999) at *19-21, aff’d, 225 F.3d

 2   1042 (9th Cir. 2000).

 3          44.     Moreover, by settling this case prior to trial rather than continuing to litigate issues

 4   that remain somewhat unsettled, IPP Counsel have obtained exceptional results for the class at far

 5   less expense to the parties, their counsel, and the Court. They also have obtained those results

 6   more quickly and surely than if the matter had been litigated to final resolution through the

 7   appellate process. This factor also supports the lodestar enhancement used in the cross-check.

 8   See Lealao v. Beneficial California, Inc., 82 Cal.App.4th 19, 51 (2000).

 9          45.     The Lodestar Multipliers Applied in Other Cases. A comparison to the lodestar

10   multipliers applied in other cases also shows that either a 2.13 or 2.3 lodestar enhancement is

11   well within the range of multipliers applied in comparable cases. See, e.g., Vizcaino v. Microsoft

12   Corp., 290 F.3d at 1050 (looking to multipliers awarded in comparable cases as evidence of

13   reasonableness). Indeed, it is quite modest: significantly greater multipliers -- 4.0 and above --

14   have often been applied in fee awards from common funds. See also Van Vranken v. Atlantic

15   Richfield Co., 901 F.Supp. 294, 298 (N.D. Cal. 1995) (“multipliers in the 3 – 4 range are

16   common lodestar awards in lengthy and complex class action litigation”). As the court observed

17   in In re Nasdaq Market-Makers Antitrust Litig., 187 F.R.D. 465, 489(S.D.N.Y. 1998):

18
                    The percentage fee award in this case represents a multiplier of
19                  approximately 3.97 times IPP Counsel's lodestar of $36,191,751. A
                    multiplier of 3.97 is not unreasonable in this type of case. Indeed,
20
                    as noted by the Honorable Leonard B. Sand, “In recent years
21                  multipliers of between 3 and 4.5 have become common.” Rabin v.
                    Concord Assets Group, Inc., [1991-92 Transfer Binder] Fed. Sec.
22                  L. Rep. (CCH) ¶ 96,471 (S.D.N.Y.1991) (applying a 4.4
                    multiplier), quoting O'Brien v. National Property Analysts, 88 Civ.
23                  4153, Tr. p. 72 (S.D.N.Y. July 27, 1989).
24   Numerous other fee awards confirm this point. For example, in Craft v. County of San
25   Bernardino, 624 F.Supp.2d 1113, 1125 (C.D. Cal. 2008), the Central District, citing a multitude
26   of cases, upheld a common fund award that equated to a lodestar multiplier of 5.2 :
27                                         45
28     DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
      MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                             AWARDS – Master File No. CV-07-5944-SC
 Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 46 of 47




 1
                A 25% of the fund award will result in a multiplier of
 2              approximately 5.2. While this is a high end multiplier, there is
                ample authority for such awards resulting in multipliers in this
 3
                range or higher. See, e.g., In Re Merry-Go-Round Enterprise, Inc.
 4              (Bankr.D.Md.2000) 244 B.R. 327 (40% award for $71 million
                fund awarded, resulting in a cross-check multiplier of 19.6); Stop
 5              & Shop Supermarket Co. v. SmithKline Beecham Corp., 2005 WL
                1213926 (E.D.Pa.) ($100 Million class fund in antitrust case, with
 6              an award of 20% of the fund, which amounted to a multiplier of
                15.6); In re Rite Aid Corp. Sec. Litig., 146 F.Supp.2d 706
 7
                (E.D.Pa.2001) (in $193 Million fund, IPP Counsel awarded fee of
 8              25% of fund, which amounted to $48 Million and represented a
                multiplier of 4.5-8.5, which the court described as “handsome but
 9              “unquestionably reasonable”); In re Cendant Corp. PRIDES
                Litigation, 243 F.3d 722, 732 (3rd Cir.2001) (5.7% of
10              $341,500,000 settlement awarded, resulting in multiplier of 7); In
11              re Rite Aid Corp. Sec. Litig, 362 F.Supp.2d 587 (E.D.Pa.2005)
                (25% of $126,800,000 fund awarded; multiplier of 6.96); In Re
12              IDB Communication Group, Inc., Sec. Litig., No. 94-3618
                (C.D.Cal. Jan. 17, 1997) (Hupp, J.), cited at 19 Class Action
13              Reports 472-73 (1996) (16.5% of $83 Million fund awarded;
                multiplier of 6.2); In re RJR Nabisco, 1992 WL 210138 (25% of
14              $72.5 Million fee awarded; multiplier of 6); In re Charter
15              Communications, Inc., Securities Litigation, 2005 WL 4045741, 18
                (E.D.Mo.2005) (20% of fund awarded in recovery of
16              $146,250,000, multiplier of 5.61); Roberts v. Texaco, Inc., 979
                F.Supp. 185, 197 (S.D.N.Y.1997) (fee award of approximately
17              16.7% of the fund, multiplier of 5.5, plus fund set aside to
                compensate for post-settlement work); Di Giacomo v. Plains All
18              Am. Pipeline, Nos. H-99-4137, H-99-4212, 2001 U.S. Dist. LEXIS
19              25532, at 31, 2001 WL 3463337 at 10 (S.D.Tex. Dec. 18, 2001)
                (awarding 30% of $29.5 Million fund; multiplier of 5.3); In re
20              Beverly Hills Fire Litigation, 639 F.Supp. 915 (E.D.Ky.1986) (fee
                of $4,121,926 in settlement of $14 Million; multiplier of 5 for lead
21              counsel); Kuhnlein v. Department of Revenue, 662 So.2d 309, 315
                (Fla.1995) (class fund award of 10% of $188,100,000, resulting in
22
                multiplier of approximately 15, reduced by Fla. Supreme Court to
23              multiplier of 5 times lodestar, because lodestar was proper method
                under Florida law); In re Xcel Energy, Inc. Sec., Derivative &
24              ERISA Litig., 364 F.Supp.2d 980 (D.Minn.2005) (25% of $80M
                settlement; multiplier of 4.7); Wilson v. Bank of Am. Natl. Trust &
25              Savs. Assn., No. 643872 (Cal.Sup.Ct.9/16/82) (multiplier of 10
                times then hourly rate of $150), cited in Newberg, 14:6, p. 578,
26
                F3d 373, 378-379. The 25% is substantially below the average
27                                        46
28    DECLARATION OF RICHARD M. PEARL IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
     MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
                            AWARDS – Master File No. CV-07-5944-SC
Case 4:07-cv-05944-JST Document 4071-15 Filed 09/23/15 Page 47 of 47
